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 1   DWIGHT M. SAMUEL (CA SB# 054486)
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     Sacramento, California 95814-2282
 3   916-447-1193
 4   Attorney for Defendant
     NORMAN ANGELO MIKE
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                             IN THE UNITED STATES DISTRICT COURT
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                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA, )                  No. CR-S-09-297 WBS
                                   )
13                                 )              STIPULATION AND
                       Plaintiff,  )              PROPOSED ORDER
14                                 )              CONTINUING STATUS
           v.                      )              CONFERENCE AND
15                                 )              EXCLUDING TIME UNDER
     ALEX ZAVALA-TAPIA, et al.,    )              THE SPEEDY TRIAL ACT
16                                 )
                       Defendants. )
17                                 )
     ______________________________)
18
19          It is hereby stipulated and agreed to between defendants Norman Mike, Alex Zavala-
20   Tapia, Jose Mendoza-Garcia and Miguel Abundez Mosqueda, by and through their respective
21   counsel, Dwight M. Samuel, Benjamin Galloway, Gilbert Roque, and Clemente M. Jimenez and
22   plaintiff United States of America, by and through Samuel Wong, Assistant United States
23   Attorney, that the status conference presently set for Monday, March 22, 2010 be vacated and
24   rescheduled for a status conference on Monday, April 26, 2010, at 9:00 a.m.
25          Defendants have requested additional discovery from the United States and additional
26   time is necessary for the United States to obtain and produce the discovery, and defendants to
27   review and investigate the new discovery.
28          Therefore all parties request that the Court continue the status conference to April 26,
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 1   2010. It is further stipulated and agreed by all parties that the period from the date of this
 2   stipulation, March 19, 2010, through and including April 26, 2010, be excluded in computing the
 3   time within which trial of this case must be commenced under the Speedy Trial Act, pursuant to
 4   18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4 for preparation of defense counsel.
 5   Respectfully submitted,
 6   Dated: March 19, 2010
 7                                                      /s/ Dwight M.. Samuel
                                                        DWIGHT M. SAMUEL
 8                                                      Attorney for Defendant, Norman A. Mike
 9   Dated: March 18, 2010
10                                                      /s/ Gilbert Roque1
                                                        GILBERT ROQUE
11                                                      Attorney for Defendant, Jose Mendoza-Garcia
12   Dated: March 18, 2010
                                                        /s/ Clemente M. Jimenez2
13                                                      CLEMENTE M. JIMENEZ
                                                        Attorney for Defendant, Miguel Abundez
14   Mosqueda
15   Dated: March 18, 2010
16                                                      /s/ Benjamin D. Galloway3
                                                        BENJAMIN D. GALLOWAY
17                                                      Attorney for Defendant, Alex Zavala-Tapia
18
     Dated: March 18, 2010                              BENJAMIN B. WAGNER
19                                                      United States Attorney
20
                                                  By:   /s/Samuel Wong4
21                                                      SAMUEL WONG
                                                        Assistant United States Attorney
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                Signed per email authorization.

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                Signed per email authorization.

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                Signed per email authorization.

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                Signed per email authorization.
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 1                                                ORDER
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            The Court having received, read, and considered the parties' stipulation, and GOOD
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     CAUSE APPEARING therefrom, it is hereby ordered that the March 22, 2010, status conference
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     be continued to until April 26, 2010, at 9:00 a.m. The Court finds that the ends of justice served
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     by the requested continuance outweigh the best interest of the public and the defendants in a
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     speedy trial. The Court finds that the failure to grant the requested continuance would deny the
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     defendants' counsel reasonable time for effective preparation taking into account the exercise of
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     due diligence. THEREFORE, IT IS FURTHER ORDERED that the period from the date of the
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     parties' stipulation, March 19, 2010, through and including April 26, 2010, be excluded in
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     computing the time within which trial of this case must be commenced under the Speedy Trial
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     Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4 for preparation of
12
     defense counsel.
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     IT IS SO ORDERED.
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     Dated: March 19, 2010
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